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   1                      IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
   2                               EASTERN DIVISION
   3    MOTOROLA SOLUTIONS, INC., and MOTOROLA   ) No. 17 CV 1973
        SOLUTIONS MALAYSIA SDN. BHD,             )
   4                                             )
                    Plaintiffs,                  )
   5    vs.                                      ) Chicago, Illinois
                                                 )
   6    HYTERA COMMUNICATIONS CORPORATION, LTD., ) December 19, 2019
        HYTERA AMERICA, INC., and HYTERA         )
   7    COMMUNICATIONS AMERICA (WEST), INC.,     )
                                                 )
   8                Defendants.                  ) 10:01 o'clock a.m.
   9
                                TRIAL - VOLUME 24 A
 10                         TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE CHARLES R. NORGLE, SR.
 11                                 and a jury
 12
 13     For the Plaintiffs:         KIRKLAND & ELLIS LLP
                                    BY: Mr. Adam R. Alper
 14                                      Mr. Brandon Hugh Brown
                                         Mr. Reza Dokhanchy
 15                                      Ms. Barbara Nora Barath
                                         Mr. Kyle Calhoun
 16                                 555 California Street
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 18
                                    KIRKLAND & ELLIS LLP
 19                                 BY: Mr. Michael W. De Vries
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 20                                 Los Angeles, California 90071
                                    (213) 680-8400
 21
 22
        Court reporter:                  BLANCA I. LARA
 23                              Official Court Reporter
                                  219 South Dearborn Street
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   1    Appearances: (Continued:)
   2
        For the Plaintiffs:         KIRKLAND & ELLIS LLP
   3                                BY: Ms. Megan Margaret New
                                    300 North LaSalle Street
   4                                Chicago, Illinois 60654
                                    (312) 862-7439
   5
                                    KIRKLAND & ELLIS LLP
   6                                BY: Ms. Leslie M. Schmidt
                                    601 Lexington Avenue
   7                                New York, New York 10022
                                    (212) 446-4763
   8
        Motorola Corporate Representative:            Mr. Russ Lund
   9
 10
        For the Defendants:         STEPTOE & JOHNSON LLP
 11                                  BY: Mr. Boyd T Cloern
                                         Mr. Michael J. Allan
 12                                      Ms. Jessica Ilana Rothschild
                                         Ms. Kassandra Michele Officer
 13                                 1330 Connecticut Avenue., Nw
                                    Washington, DC 20036
 14                                 (202) 429-6230
 15                                 STEPTOE & JOHNSON LLP
                                    BY: Mr. Daniel Steven Stringfield
 16                                 227 West Monroe Street
                                    Suite 4700
 17                                 Chicago, Illinois 60606
                                    (312) 577-1267
 18
 19     Hytera Corporate Representative: Michele Ning
 20
 21
 22
 23
 24
 25
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              1              (The following proceedings were had out of the
              2              presence of the jury in open court:)
              3               THE COURT: Good morning, counsel. The coffee just
              4    arrived. We'll call the case in a few minutes.
10:01:18      5               MR. ALPER: Yes, Your Honor.
              6               THE COURT: He also forgot the bagels.
              7               THE CLERK: But not the cream cheese.
              8               THE COURT: But not the cream cheese.
              9              (Brief pause.)
10:02:14    10                THE COURT: Before the jury comes in, counsel, can you
            11     double-check your recollection, which is to say that when the
            12     jury leaves this afternoon they will then return on
            13     January 13th.
            14                MR. ALPER: Yes, Your Honor.
10:02:28    15                MR. CLOERN: Yes, Your Honor.
            16                THE COURT: Okay. Thank you.
            17               (Brief pause.)
            18                MR. CLOERN: Your Honor, one small change in plans.
            19     We had planned to play some deposition videos along with a live
10:02:45    20     witness today, but because of the agreement between counsel
            21     about not talking to witnesses once they've got on the stand,
            22     we decided just to play out the day with videos and bring the
            23     witnesses back so it wouldn't isolate them over a long break.
            24                THE COURT: If that's your agreement, it is acceptable
10:03:02    25     to the Court.
           Case: 1:17-cv-01973 Document #: 805 Filed: 12/20/19 Page 4 of 18 PageID #:55409
                                   videotape deposition of Jefrey Spaeth
                                                                                             3574

              1               MR. ALPER: Yes.
              2               MR. CLOERN: Thank you, Your Honor.
              3               THE CLERK: All rise.
              4              (The following proceedings were had in the
10:03:24      5              presence of the jury in open court:)
              6               THE CLERK: The Court is in session. Please be
              7    seated.
              8               THE COURT: Good morning, members of the jury.
              9               Please call the witness.
10:03:31    10                MR. CLOERN: Good morning, Your Honor.
            11                THE COURT: Good morning.
            12                MR. CLOERN: Hytera Corporation and the Hytera America
            13     entities call Jeffrey Spaeth by video deposition.
            14                THE COURT: Please proceed.
10:03:46    15               (The following partial videotape deposition of
            16               Jeffrey Spaeth heard in open court:)
            17                THE COURT: Counsel, this might be a good opportunity
            18     for a morning break.
            19                Members of the jury, we'll take a short break and then
11:00:04    20     return to this testimony.
            21                THE CLERK: All rise. The Court will take a brief
            22     recess.
            23               (Recess.)
            24                THE CLERK: All rise.
11:19:54    25
           Case: 1:17-cv-01973 Document #: 805 Filed: 12/20/19 Page 5 of 18 PageID #:55410
                                   videotape deposition of Jefrey Spaeth
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              1              (The following proceedings were had in the
              2              presence of the jury in open court:)
              3               THE CLERK: The Court is in session. Please be
              4    seated.
11:19:57      5               MR. ALPER: Your Honor, we have an objection 402 basis
              6    that is coming up in the testimony. May we have a brief
              7    sidebar?
              8               THE COURT: Yes.
              9              (Proceedings heard at sidebar on the record.)
11:20:15    10                MR. ALPER: So in just a moment, the witness is going
            11     to be asked a question -- about some questions about employment
            12     discrimination --
            13                THE COURT REPORTER: Counsel, I cannot hear you.
            14                MR. ALPER: I'm sorry. I'll do that one more time.
11:20:24    15                There will be testimony coming up shortly, questions
            16     about employment discrimination claim. The witness is unaware
            17     of the claim but he does say the woman indicated to him that
            18     she had been treated unfairly as a woman at Motorola.
            19                That is completely irrelevant to any issue under 402,
11:21:00    20     it's prohibited by 404(b) as improper character evidence, and
            21     it is highly prejudicial and incredibly inflammatory under 403,
            22     to the extent that we would be irreparably prejudiced if they
            23     start talking about employment discrimination, gender
            24     discrimination with this jury. That's not an issue that's ever
11:21:18    25     been part of this case.
           Case: 1:17-cv-01973 Document #: 805 Filed: 12/20/19 Page 6 of 18 PageID #:55411
                                   videotape deposition of Jefrey Spaeth
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              1               THE COURT: What is your response?
              2               MR. CLOERN: Your Honor, it relates to the -- it's the
              3    facts involving the termination of Nickie Petratos, a witness
              4    that Hytera relies on. So Nickie Petratos is a Motorola -- was
11:21:36      5    a Motorola employee. It's one of the witnesses that we're
              6    calling by deposition video. And this is about why she's not
              7    employed at Motorola anymore and it goes to her credibility.
              8               MR. ALPER: Your Honor, this is a witness that they're
              9    calling, if anything it would be --
11:21:52    10                THE COURT: Well, we'll deal with that when and if she
            11     is called, but for now I would sustain your objection on 403
            12     grounds.
            13                MR. ALPER: Yes, Your Honor.
            14               (Proceedings resumed in open court:)
11:22:57    15                THE COURT: You may proceed.
            16               (The following videotape deposition of Jeffrey
            17               Spaeth continued and heard in open court:)
            18                MS. ROTHSCHILD: Your Honor, at this time Hytera would
            19     like to admit the exhibits that were referenced in the
11:57:17    20     deposition.
            21                THE COURT: Proceed.
            22                MS. ROTHSCHILD: Spaeth Exhibit 1 is DTX 4123. Spaeth
            23     Exhibit 2 is DTX 4142. Spaeth Exhibit 3 is DTX 4137. Spaeth
            24     Exhibit 5 is DTX 4149. Spaeth Exhibit 6 and 7 are DTX 4153.
11:57:40    25     Spaeth Exhibit 15 is PTX 1209. Spaeth Exhibit 12 is DTX 4173.
           Case: 1:17-cv-01973 Document #: 805 Filed: 12/20/19 Page 7 of 18 PageID #:55412
                                   videotape deposition of Jefrey Spaeth
                                                                                             3577

              1    Spaeth Exhibit 30 is DTX 4189. Spaeth Exhibit 32 is DTX 4191.
              2    Spaeth Exhibit 37 is PTX 3. Spaeth Exhibit 38 is PTX 1383.
              3    Spaeth Exhibit 39 is PTX 1382. Spaeth Exhibit 40 is DTX 4517.
              4    Spaeth Exhibit 44 is DTX 3058. Spaeth Exhibit 45 is PTX 1228.
11:58:20      5    Spaeth Exhibit 47 is DTX 4124. Spaeth Exhibit 48 is DTX 4088.
              6    Spaeth Exhibit 49 is DTX 4143. Spaeth Exhibit 50 is DTX 4536.
              7    Spaeth Exhibit 51 is DTX 4126. Spaeth Exhibit 52 is DTX 4537.
              8    Spaeth Exhibit 53 is DTX 4541. Spaeth Exhibit 61 is DTX 4179.
              9    Spaeth Exhibit 66 is DTX 4274. Spaeth Exhibit 75 is DTX 4128.
11:59:01    10     And finally, Spaeth Exhibit 79 is PTX 1355.
            11                MR. ALPER: Your Honor, almost no issues. We don't
            12     believe Exhibit 66 was part of the testimony, but if we're
            13     incorrect, we will confer.
            14                MS. ROTHSCHILD: It is already admitted. If it wasn't
11:59:22    15     used, I apologize, but it is admitted.
            16                MR. ALPER: Okay. Then that should not be an issue.
            17     And then lastly, I think you said DTX 4173 was Exhibit 12. For
            18     the record, our notes show it's Exhibit 22.
            19                MS. ROTHSCHILD: 22, I misspoke. Thank you.
11:59:35    20                THE COURT: Is this motion consistent with the Court's
            21     403 ruling at the sidebar?
            22                MR. ALPER: Yes, Your Honor.
            23                MS. ROTHSCHILD: Yes, Your Honor.
            24                THE COURT: Then they are received, and, indeed, have
11:59:46    25     been published to the jury, yes.
           Case: 1:17-cv-01973 Document #: 805 Filed: 12/20/19 Page 8 of 18 PageID #:55413
                                   videotape deposition of Jefrey Spaeth
                                                                                             3578

              1              (Defendants' Spaeth Exhibit 1, DTX 4123. Spaeth
              2              Exhibit 2, DTX 4142. Spaeth Exhibit 3, DTX
              3              4137. Spaeth Exhibit 5, DTX 4149. Spaeth
              4              Exhibit 6 and 7, DTX 4153. Spaeth Exhibit 15,
11:57:43      5              PTX 1209. Spaeth Exhibit 22, DTX 4173. Spaeth
              6              Exhibit 30, DTX 4189. Spaeth Exhibit 32, DTX
              7              4191. Spaeth Exhibit 37, PTX 3. Spaeth
              8              Exhibit 38, PTX 1383. Spaeth Exhibit 39, PTX
              9              1382. Spaeth Exhibit 40, DTX 4517. Spaeth
11:58:12    10               Exhibit 44, DTX 3058. Spaeth Exhibit 45, PTX
            11               1228. Spaeth Exhibit 47, DTX 4124. Spaeth
            12               Exhibit 48, DTX 4088. Spaeth Exhibit 49, DTX
            13               4143. Spaeth Exhibit 50, DTX 4536. Spaeth
            14               Exhibit 51, DTX 4126. Spaeth Exhibit 52, DTX
11:58:44    15               4537. Spaeth Exhibit 53, DTX 4541. Spaeth
            16               Exhibit 61, DTX 4179. Spaeth Exhibit 66, DTX
            17               4274. Spaeth Exhibit 75, DTX 4128. Spaeth
            18               Exhibit 79, PTX 1355 were received in evidence.)
            19                THE COURT: And once again, this is incredible, it is
11:59:51    20     high noon. Good timing here. This can't be any better.
            21               (Laughter in the courtroom.)
            22                THE COURT: Members of the jury, please return at 1:00
            23     o'clock.
            24               (Luncheon recess taken from 12:00 o'clock p.m.
12:00:19    25               to 1:00 o'clock p.m.)
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                        videotape deposition of Jefrey Spaeth
                                                                                  3579

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   2                     *     *      *     *     *      *     *     *
   3
   4
   5     I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT FROM THE
   6            RECORD OF PROCEEDINGS IN THE ABOVE-ENTITLED MATTER
   7
   8    /s/Blanca I. Lara                             December 19, 2019
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    1                     IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
    2                              EASTERN DIVISION

    3    MOTOROLA SOLUTIONS, INC., and MOTOROLA               )   No. 17 CV 1973
         SOLUTIONS MALAYSIA SDN. BHD,                         )
    4                                                         )
                        Plaintiffs,                           )
    5    vs.                                                  )   Chicago, Illinois
                                                              )
    6    HYTERA COMMUNICATIONS CORPORATION, LTD.,             )   December 19, 2019
         HYTERA AMERICA, INC., and HYTERA                     )
    7    COMMUNICATIONS AMERICA (WEST), INC.,                 )
                                                              )
    8                   Defendants.                           )   1:00 o'clock p.m.

    9                              TRIAL - VOLUME 24-B
                                TRANSCRIPT OF PROCEEDINGS
   10
                    BEFORE THE HONORABLE CHARLES R. NORGLE, SR.,
   11                                and a jury

   12    APPEARANCES:

   13    For the Plaintiffs:        KIRKLAND & ELLIS, LLP
                                    BY: MR. ADAM R. ALPER
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   17                               KIRKLAND & ELLIS, LLP
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   20                               (213) 680-8400

   21

   22    Court Reporter:            AMY M. SPEE, CSR, RPR, CRR
                                    Official Court Reporter
   23                               United States District Court
                                    219 South Dearborn Street, Room 1728
   24                               Chicago, Illinois 60604
                                    Telephone: (312) 818-6531
   25                               amy_spee@ilnd.uscourts.gov
Case: 1:17-cv-01973 Document #: 805 Filed: 12/20/19 Page 11 of 18 PageID #:55416

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    1    APPEARANCES (Continued:)

    2    For the Plaintiffs:        KIRKLAND & ELLIS, LLP
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    5                               KIRKLAND & ELLIS, LLP
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    8    For the Defendants:        STEPTOE & JOHNSON, LLP
                                    BY: MR. BOYD T. CLOERN
    9                                    MR. MICHAEL J. ALLAN
                                         MS. JESSICA ILANA ROTHSCHILD
   10                                    MS. KASSANDRA MICHELE OFFICER
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   11                               Washington, DC 20036
                                    (202) 429-6230
   12
                                    STEPTOE & JOHNSON, LLP
   13                               BY: MR. DANIEL S. STRINGFIELD
                                    227 West Monroe Street
   14                               Suite 4700
                                    Chicago, Illinois 60606
   15                               (312) 577-1300

   16

   17    ALSO PRESENT:              MR. RUSS LUND and
                                    MS. MICHELE NING
   18

   19

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    1          (Proceedings heard in open court.          Jury in.)

    2               THE COURT:     Good afternoon, members of the jury.

    3               Please call the witness.

    4               MR. CLOERN:     Thank you, Your Honor.

    5               Hytera Communications Corporation Limited and Hytera

    6    America and Hytera America (West) call KwaiSin Lokang --

    7               THE COURT:     Proceed.

    8               MR. CLOERN:     -- by deposition video.

    9               THE COURT:     Yes.

   10          (Videotaped deposition of KwaiSin Lokang played in open

   11    court.)

   12               MS. ROTHSCHILD:       Your Honor, at this time Hytera

   13    would like to admit Lokang Exhibit 3, which is DTX-4392;

   14    Lokang Exhibit 4, which is DTX-4455; Lokang Exhibit 5, which

   15    is DTX-4492; Lokang Exhibit 44, DTX-4635; Lokang Exhibit 45,

   16    which is DTX-4459; and Lokang Exhibit 48, which is DTX-4409.

   17               MR. ALPER:     No objection.

   18               THE COURT:     They are received.

   19          (Exhibit Nos. DTX-4392, DTX-4455, DTX-4492, DTX-4635,

   20           DTX-4459, and DTX-4409 were received in evidence.)

   21               MS. ROTHSCHILD:       And Hytera Communications

   22    Corporation Limited, Hytera America, Inc., and Hytera America

   23    (West) would like to call Solomon Lorthu by deposition.

   24               THE COURT:     In terms of the publications of exhibits

   25    that have been received, how will the jury see them?               Are they
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    1    waiting until they deliberate in terms of their publication?

    2               MR. CLOERN:     Yeah.    At this point, Your Honor, it

    3    would be waiting until they, I think, deliberate, unless -- we

    4    could certainly work with counsel to put together notebooks or

    5    something.

    6               MR. ALPER:     I think Hytera objected to the exhibits

    7    being shown with the video, so I think we're assuming that

    8    they would be presented --

    9               THE COURT:     For example, there's a reference to a

   10    manual that is not depicted on the screen.             The jury has no

   11    way to look at it, unless it is somehow published to the jury

   12    during the course of the trial or ultimately when they

   13    deliberate and may consider these exhibits along with all of

   14    the other exhibits which had been received in evidence.

   15               But no one is moving for publication at the moment;

   16    is that right?

   17               MR. ALPER:     Yes, that was my understanding.          That was

   18    Hytera's understanding.

   19               THE COURT:     All right.     So if in due course they are

   20    not published by way of some other witness, ultimately they

   21    will be given to the jury at the end of the case when the

   22    matter is before the jury for deliberations.

   23               MR. ALPER:     Yes, Your Honor.

   24               THE COURT:     Proceed.

   25          (Videotaped deposition of Solomon Lorthu played in open
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    1    court.)

    2               MS. ROTHSCHILD:      Your Honor, at this time Hytera

    3    seeks to admit Lorthu Exhibit 9 as DTX-4249, Lorthu Exhibit 10

    4    as DTX-4625, Lorthu Exhibit 14 as DTX-4697, Lorthu Exhibit 26

    5    as DTX-4263, Lorthu Exhibit 32 as DTX-4647, Lorthu Exhibit 33

    6    as DTX-4459, Lorthu Exhibit 34 as DTX-4488, and Lorthu

    7    Exhibit 35 as DTX-4633.

    8               MR. ALPER:     No objection, Your Honor.

    9               THE COURT:     The exhibits are received.

   10          (Exhibit Nos.      DTX-4249, DTX-4625, DTX-4697, DTX-4263,

   11           DTX-4647, DTX-4459, DTX-4488, and DTX-4633 were received

   12           in evidence.)

   13               MS. ROTHSCHILD:      Next, the Hytera defendants called

   14    Hun Weng Khoo by video deposition.

   15               (Videotaped deposition of Hun Weng Khoo played in

   16    open court.)

   17               THE COURT:     The objection to shouting at the witness

   18    is sustained.     That's a serious ruling.

   19               Proceed.

   20          (Videotaped resumed.)

   21               MS. ROTHSCHILD:      Your Honor, Hytera seeks to admit

   22    Khoo Deposition Exhibit 16 as DTX-4823, Khoo Exhibit 17 as

   23    DTX-4822, Khoo Exhibit 18 as DTX-4821, Khoo Exhibit 19 as

   24    DTX-4287, Khoo Exhibit 26 as DTX-4561, Khoo Exhibit 27 as

   25    DTX-4560, Khoo Exhibit 28 as DTX-4300, Khoo Exhibit 29 as
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    1    DTX-4301, and Khoo Exhibit 30 as DTX-4459.

    2               MR. ALPER:     No objection, Your Honor.

    3               THE COURT:     They are received.

    4          (Exhibit Nos. DTX-4823, DTX-4822, DTX-4821, DTX-4287,

    5           DTX-4561, DTX-4560, DTX-4300, DTX-4301, DTX-4459 were

    6           received in evidence.)

    7               MR. CLOERN:     Hytera Communications Corporation

    8    Limited, Hytera America, Inc., and Hytera America (West) call

    9    Randall Helm by video deposition.

   10               THE COURT:     Please call.

   11          (Videotaped deposition of Randall Helm played in open

   12    court.)

   13               THE COURT:     Could you stop the equipment for a

   14    moment?    At least one individual wants to take a break.

   15          (Recess had.)

   16               THE COURT:     Proceed with the witness.

   17          (Videotaped resumed.)

   18               MR. CLOERN:     Your Honor, just a side posting, we have

   19    two more video witnesses, one is four minutes and the other is

   20    14 minutes.

   21               THE COURT:     Proceed with both.

   22               MR. CLOERN:     Thank you, Your Honor.

   23               MS. ROTHSCHILD:      Exhibits.     The exhibits from the

   24    deposition that we just listened of Randall Helm, Exhibits 9

   25    and 10 from the deposition are DTX-4407, Exhibit 14 is
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    1    DTX-4118, Exhibit 18 is DTX-4715, Exhibit 19 is DTX-4393,

    2    Exhibit 20 is DTX-4391, and Exhibit 24 is DTX-4678.

    3               MR. ALPER:     No objection, Your Honor.

    4               THE COURT:     During the course of the questioning,

    5    there was a reference to one exhibit that had Page 700 and

    6    another Page 60.      So are you moving the admissibility of these

    7    exhibits totaling thousands of pages.

    8               MS. ROTHSCHILD:      Your Honor, I believe that's a

    9    reference to the Bates number and not the actual page number

   10    of the document.

   11               THE COURT:     So about how many pages on average do

   12    these exhibits consist of?

   13               MS. ROTHSCHILD:      I don't know, but dozens, not

   14    hundreds of pages.

   15               THE COURT:     In any event, you're moving the

   16    admissibility in their entirety, not selective pages.

   17               MS. ROTHSCHILD:      Yes, Your Honor.

   18               THE COURT:     And you have no objection?

   19               MR. ALPER:     No objection, Your Honor.

   20               THE COURT:     All right.     They are received.

   21          (Exhibit Nos. DTX-4407, DTX-4118, DTX-4715, DTX-4393,

   22           DTX-4391, and DTX-4678 were received in evidence.)

   23               THE COURT:     Members of the jury, you will have much

   24    to look at when you go in to deliberate.

   25               MS. ROTHSCHILD:      Hytera calls Jason Winkler.
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    1          (Videotaped deposition of Jason Winkler played in open

    2    court.)

    3               THE COURT:     Was that the four-minute?

    4               MS. ROTHSCHILD:      That was the four-minute one, yes,

    5    Your Honor.

    6               Hytera seeks to admit Winkler Deposition Exhibit

    7    No. 7 as PTX-1436.

    8               MR. ALPER:     No objection.

    9               THE COURT:     They are received.

   10          (Exhibit No. PTX-1436 was received in evidence.)

   11               MS. ROTHSCHILD:      And Hytera calls Kimberly Corso.

   12          (Videotaped deposition of Kimberly Corso played in open

   13    court.)

   14               MS. ROTHSCHILD:      Your Honor, we seek to admit Corso

   15    Deposition Exhibit 14 is DTX-4851, Corso Exhibit 15 is

   16    DTX-4852, Corso Exhibit 16 is DTX-4853, and then the documents

   17    that were received from the hard drive that Ms. Corso retained

   18    after she departed Motorola as DTX-4729 through DTX-4755.

   19    That's 27 documents.

   20               MR. ALPER:     No objection, Your Honor.

   21               THE COURT:     All right.     They are received.

   22          (Exhibit Nos. DTX-4851, DTX-4852, DTX-4853, and DTX-4729

   23           through DTX-4755 were received in evidence.)

   24               THE COURT:     Members of the jury, I hope you will

   25    recall that on an earlier occasion I told you of the schedule.
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    1    I have reviewed it.       And, once again, you will be excused from

    2    jury service on this trial until Monday, January 13th at

    3    10:00 a.m.

    4               Does anyone have any questions about that?

    5               No hands have gone up.        But with a further

    6    precaution, because we are expecting snow on that date, you

    7    may come in at 10:15.       So that's the change of the order, from

    8    10:00 to 10:15.      The day remains the same, Monday,

    9    January 13th, 2020.

   10               And you are excused.

   11               The trial is adjourned.

   12               THE CLERK:     Trial is adjourned until --

   13               THE COURT:     January 13th, 10:15.

   14               THE CLERK:     -- January 13th, 10:15.           Weather depends.

   15         (Court adjourned at 4:28 p.m.)

   16                                 *   *   *   *   *   *

   17                                     CERTIFICATE

   18         I certify that the foregoing is a correct transcript from

   19    the record of proceedings in the above-entitled matter.

   20

   21    /s/ Amy Spee                                     12/19/2019

   22    Amy Spee, CSR, RPR, CRR                              Date
         Official Court Reporter
   23

   24

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